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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 AMERICAN ASSOCIATION OF
 UNIVERSITY PROFESSORS—HARVARD
 FACULTY CHAPTER, and AMERICAN                           Case No. 1:25-cv-10910
 ASSOCIATION OF UNIVERSITY
 PROFESSORS,

                        Plaintiffs,

                v.

 UNITED STATES DEPARTMENT OF
 JUSTICE et al.

                        Defendants.



              UNOPPOSED MOTION FOR LEAVE TO PARTICIPATE IN
            STATUS CONFERENCE IN RELATED CASE NO. 1:25-CV-11048

        Plaintiffs respectfully submit this Motion for leave to participate in the status conference

scheduled for Monday, April 28, at 10:30am, in the related case of President & Fellows of

Harvard Coll. v. Dep’t of Health & Hum. Servs., Case No. 1:25-cv-1104. Counsel have

conferred as required by Local Rule 7.1(a)(2) and Defendants do not oppose this Motion.1

        On April 11, 2025, Plaintiffs filed this lawsuit challenging the Trump administration’s

unlawful threats to withhold federal funding to Harvard under Title VI (ECF No. 1) and

simultaneously filed a Motion for Temporary Restraining Order (ECF No. 4). The following

Monday, April 14, Harvard officially rejected the Trump administration’s demands (ECF No. 27,

Ex. 2); and later that day, the Trump administration announced that it would freeze more than




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      Plaintiff in the related case, President and Fellows of Harvard College, takes no position on
this Motion.
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$2 billion in federal funding to Harvard (ECF No. 27, Ex. 3). In light of those developments, on

April 15, Plaintiffs withdrew their motion for a temporary restraining order and asked the

Court’s leave to inform the Court of their further plans to seek other forms of expedited relief

(ECF No. 27), which the Court granted (ECF No. 29). On April 18, Plaintiffs informed the Court

that they intended to seek preliminary or other expedited relief and asked to provide a joint status

report by May 16 (ECF No. 40). The Court granted the request that day (ECF No. 41).

       On April 21, Harvard filed a separate lawsuit and designated its case as “related” to this

action pursuant to Local Rule 40.1(g). See President & Fellows of Harvard Coll. v. Dep’t of

Health & Hum. Servs., Case No. 1:25-cv-1104, ECF No. 1, Ex. 12 (Certificate of Related Case).

Harvard’s complaint raises largely the same claims brought by the Plaintiffs in this case. Both

cases have been assigned to Your Honor. On April 23, Harvard filed an Unopposed Motion for

Status Conference, informing the Court that it intends to seek final judgment on an expedited

basis and requesting a status conference to set deadlines for the Government to produce its

administrative record and to establish a briefing schedule on cross-motions. Case No. 1:25-cv-

1104, ECF No. 21. The Court then set a status conference for Monday, April 28, at 10:30am

(ECF No. 23).

       Plaintiffs respectfully request permission to appear and participate in the status

conference to discuss the briefing schedule including the possibility of a coordinated or

consolidated schedule for both cases to efficiently address the substantially overlapping claims in

both cases.




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April 25, 2025                                Respectfully submitted,



                                              /s/ Daniel Silverman
Philippe Z. Selendy*                          Daniel H. Silverman (BBO# 704387)
Sean P. Baldwin*                              COHEN MILSTEIN SELLERS & TOLL PLLC
Corey Stoughton*                              769 Centre Street
Julie Singer*                                 Suite 207
Hannah R. Miles*                              Boston, MA 02130
SELENDY GAY PLLC                              (617) 858-1990
1290 Avenue of the Americas 20th Floor        dsilverman@cohenmilstein.com
New York, NY 10104
Tel: 212-390-9000                             Joseph M. Sellers *
pselendy@selendygay.com                       Benjamin D. Brown*
sbaldwin@selendygay.com                       Phoebe M. Wolfe *
cstoughton@selendygay.com                     Margaret (Emmy) Wydman**
jsinger@selendygay.com                        COHEN MILSTEIN SELLERS & TOLL PLLC
hmiles@selendygay.com                         1100 New York Avenue
                                              Suite 800
* Admitted pro hac vice                       Washington, D.C. 20009
** Pro hac vice admission pending             Tel: 202-408-4600
                                              jsellers@cohenmilstein.com
                                              bbrown@cohenmilstein.com
                                              pwolfe@cohenmilstein.com
                                              ewydman@cohenmilstein.com




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                                 CERTIFICATE OF SERVICE


       I hereby certify that this document, filed electronically through the Court’s CM/ECF

system, was sent electronically to the registered participants as identified on the Notice of

Electronic Filing (NEF).




Dated: April 25, 2025                                 /s/ Daniel Silverman
                                                      Daniel Silverman




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